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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

DAVID JELLISON,                         §
  Plaintiff,                            §
                                        §
v.                                      §      CIVIL ACTION NO. 1:15-cv-1054 LY
                                        §
STATE FARM LLOYDS,                      §
   Defendant.                           §

                       DEFENDANT’S NOTICE OF SETTLEMENT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       Plaintiff David Jellison and Defendant State Farm Lloyds have reached a settlement in this

matter. The parties anticipate that they will be able to finalize settlement papers and submit an

agreed motion of dismissal with prejudice within 60 days.



                                            Respectfully submitted:

                                            SKELTON & WOODY
                                            248 Addie Roy Road, Suite B-302
                                            Austin, Texas 78746
                                            Telephone:    (512) 651-7000
                                            Facsimile:    (512) 651-7001

                                     By:     /s/ Edward F. Kaye
                                            J. Hampton Skelton
                                            State Bar No. 18457700
                                            hskelton@skeltonwoody.com
                                            Edward F. Kaye
                                            State Bar No. 24012942
                                            ekaye@skeltonwoody.com
                                            R. Ashley Applewhite
                                            State Bar No. 24059388
                                            aapplewhite@skeltonwoody.com
                                            ATTORNEYS FOR DEFENDANTS
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 5th day of July, 2017, I am electronically filing the foregoing
with the Clerk of the Court using the Case Management/Electronic Case Files (“CM/ECF”)
system, which will send notification of such filing to the following CM/ECF participant:

       David C. Wenholz
       Sean Swords
       13501 Galleria Circle
       Suite W270
       Bee Cave, Texas 78738

                                              /s/ Edward F. Kaye
                                              Edward F. Kaye
